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                                IN THE UNITED STATES DISTRICT COURT
                                    FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                          Plaintiffs,                                              8:12CR310

        vs.
                                                                                    ORDER
CHRISTINA CASTELLAW,

                          Defendant.


        Defendant Christina Castellaw appeared before the court on April 1, 2016 on a Petition for Offender
Under Supervision [130]. The defendant was represented by CJA Panel Attorney Hugh P. Reefe, and the
United States was represented by Assistant U.S. Attorney Kimberly C. Bunjer. Through her counsel, the
defendant waived her right to a probable cause hearing on the Petition for Offender Under Supervision [130]
pursuant to Fed. R. Crim. P. 32.1(a)(1). The government moved for detention. A detention hearing was held.
Since it is the defendant’s burden under 18 U.S.C. § 3143 to establish by clear and convincing evidence that
she is neither a flight risk nor a danger, the court finds the defendant has failed to carry her burden and that she
should be detained pending a dispositional hearing before Chief Judge Smith Camp.
        IT IS ORDERED:
        1.       A final dispositional hearing will be held before Chief Judge Smith Camp in Courtroom No.
2, Third Floor, Roman L. Hruska Federal Courthouse, 111 South 18th Plaza, Omaha, Nebraska, on May 19,
2016 at 11:30 a.m. Defendant must be present in person.
        2        The defendant, Christina Castellaw, is committed to the custody of the Attorney General or
his designated representative for confinement in a correctional facility;
        3.       The defendant shall be afforded a reasonable opportunity for private consultation with
defense counsel; and
        4.       Upon order of a United States court or upon request of an attorney for the government, the
person in charge of the corrections facility shall deliver defendant to the United States Marshal for the purpose
of an appearance in connection with a court proceeding.




        Dated this 4th day of April, 2016

                                                              BY THE COURT:

                                                              s/ F.A. Gossett, III
                                                              United States Magistrate Judge
